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                         BEFORE THE UNITED STATES JUDICAL PANEL
                            ON MULTIDISTRICT LITIGATION


   In re: Oral Phenylephrine Marketing and
           Sales Practices Litigation                 MDL Docket No. 3089




                                    Notice of Related Action

       Pursuant to Rule 6.2(d) of the Rules of Procedure of the Judicial Panel on Multidistrict

Litigation, I, Ruben Honik, hereby provide notice that the actions listed in the attached Schedule

of Related Actions are related to this proceeding.

   Nyanjom v. Reckitt Benckiser Pharmaceuticals, Inc., Reckitt Benckiser LLC, and Bayer
   Corporation No. 2:23-cv-02426 et al. (D.Kan.)
   Scoffier v. Reckitt Benckiser Pharmaceuticals Inc. and Reckitt Benckiser LLC No. 2:23-cv-
   20529 (D.N.J.)
   Boonparn v. Reckitt Benckiser Pharmaceuticals Inc. and Reckitt Benckiser LLC, No. 1:23-
   cv-6936 (E.D.N.Y.)
   Parker v. Bayer Corporation, GSK Consumer Healthcare, Inc. Rite Aid Corporation, and
   Walgreen Co., No. 2:23-cv-03663 (E.D. Pa.)


Dated: October 9, 2023
                                                          Respectfully submitted,
                                                          By: /s/ Ruben Honik
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